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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


The Bank of Tokyo–Mitsubishi UFJ, Ltd.,
                                                               1:17-cv-08691 (SHS)
                                     Plaintiff,

                      - against -

Maria Vullo, in her official capacity as
Superintendent Financial Services of the New
York State Department of Financial Services,

                                     Defendant.




       PLEASE TAKE NOTICE that Jonathan D. Conley, Assistant Attorney General in

the Office of ERIC T. SCHNEIDERMAN, Attorney General of the State of New York,

appears in this action on behalf of Defendant Mario Vullo, Superintendent Financial Services of

the New York State Department of Financial Services. I certify that I am admitted to practice in

this Court.


 Dated: New York, New York
        December 5, 2017
                                             ERIC T. SCHNEIDERMAN
                                             Attorney General of the State of New York
                                             By:

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